            Case 3:19-cv-01713-BAS-AHG Document 18-4 Filed 10/21/19 PageID.101 Page 1 of 2


            1    THEODORE J. BOUTROUS JR., SBN 132099
                   tboutrous@gibsondunn.com
            2    THEANE EVANGELIS, SBN 243570
                   tevangelis@gibsondunn.com
            3    NATHANIEL L. BACH, SBN 246518
                  nbach@gibsondunn.com
            4    MARISSA B. MOSHELL, SBN 319734
                  mmoshell@gibsondunn.com
            5    GIBSON, DUNN & CRUTCHER LLP
                 333 South Grand Avenue
            6    Los Angeles, CA 90071-3197
                 Telephone: 213.229.7000
            7    Facsimile: 213.229.7520
            8    SCOTT A. EDELMAN, SBN 116927
                   sedelman@gibsondunn.com
            9    GIBSON, DUNN & CRUTCHER LLP
                 2029 Century Park East, Suite 4000
          10     Los Angeles, CA 90067-3026
                 Telephone: 310.552.8500
          11     Facsimile: 310.551.8741
          12     Attorneys for Defendants Rachel Maddow,
                 MSNBC Cable L.L.C., NBCUniversal Media,
          13     LLC, and Comcast Corporation
          14
                                         UNITED STATES DISTRICT COURT
          15
                                     SOUTHERN DISTRICT OF CALIFORNIA
          16
          17
                 HERRING NETWORKS, INC.,                    CASE NO. 19-cv-1713-BAS-AHG
          18
                            Plaintiff,                      DEFENDANTS’ NOTICE OF
          19                                                LODGING IN SUPPORT OF THEIR
                      v.                                    SPECIAL MOTION TO STRIKE
          20                                                PLAINTIFF’S COMPLAINT (CAL.
                 RACHEL MADDOW; COMCAST                     CIV. PROC. CODE § 425.16)
          21     CORPORATION; NBCUNIVERSAL
                 MEDIA, LLC; and MSNBC CABLE                NO ORAL ARGUMENT UNLESS
          22     L.L.C.,                                    REQUESTED BY COURT
          23                Defendants.                     Action Filed: September 9, 2019
          24                                                Judge: Hon. Cynthia Bashant
          25                                                Courtroom 4B
          26                                                Hearing Date: December 16, 2019
          27
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Gibson, Dunn &
Crutcher LLP

                                            DEFENDANTS’ NOTICE OF LODGING
            Case 3:19-cv-01713-BAS-AHG Document 18-4 Filed 10/21/19 PageID.102 Page 2 of 2


            1          TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF
            2    RECORD:
            3          PLEASE TAKE NOTICE THAT Defendants Rachel Maddow, MSNBC
            4    Cable L.L.C., NBCUniversal Media, LLC, and Comcast Corporation (“Defendants”)
            5    hereby lodge the following item with the Court in support of Defendants’
            6    contemporaneously filed Special Motion to Strike Plaintiff’s Complaint:
            7               A DVD containing a video file with the July 22, 2019 segment from The
            8                Rachel Maddow Show (MSNBC) entitled “Staffer on Trump-favored
            9                Network Is on Propaganda Kremlin Payroll,” which is attached hereto as
          10                 Exhibit 1. The segment is also available here:
          11                 https://www.msnbc.com/rachel-maddow/watch/staffer-on-trump-favored-
          12                 network-is-on-propaganda-kremlin-payroll-64332869743.
          13
          14
                 DATED: October 21, 2019
          15
                                                      Respectfully Submitted,
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          17                                          GIBSON, DUNN & CRUTCHER LLP
          18
          19
                                                      By: /s/ Theodore J. Boutrous Jr.
          20                                                Theodore J. Boutrous Jr.
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          22                                          Attorneys for Defendants
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Gibson, Dunn &
Crutcher LLP                                               1
                                            DEFENDANTS’ NOTICE OF LODGING
